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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CITIZENS FOR RESPONSIBILITY         )
AND ETHICS IN WASHINGTON,           )
                                    )
                  Plaintiff,        )
                                    )              Civil Action No. 18-377 (CRC)
                                    )
UNITED STATES GENERAL SERVICES )
ADMINISTRATION,                     )
                                    )
                  Defendant.        )
____________________________________)

                          DEFENDANT’S NOTICE OF APPEAL

       Notice is hereby given this 2nd day of May, 2019 that defendant United States General

Services Administration hereby appeals to the United States Court of Appeals for the District of

Columbia Circuit from the Memorandum Opinion and Order of the District Court entered on

March 5, 2019 (Docket No. 28).

                                            Respectfully submitted,

                                            JESSIE K. LIU, D.C. Bar No. 472845
                                            United States Attorney

                                            DANIEL F. VAN HORN, D.C. Bar No. 924092
                                            Civil Chief

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